      Case 1:18-cv-09936-LGS-SLC Document 630 Filed 09/08/23 Page 1 of 2




                                                                   DIRECT DIAL   212.763.0886
                                                                  DIRECT EMAIL   jquinn@kaplanhecker.com


                                                                      September 8, 2023
VIA ECF
The Honorable Sarah L. Cave
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007
    Re:     McKoy, et al. v. The Trump Corporation, et al., No. 18 Civ. 09936 (LGS) (SLC)
Dear Judge Cave:
        We write on behalf of Plaintiffs with reference to the Court’s June 22, 2023 Order granting
Plaintiffs’ motion for leave to depose four non-party witnesses disclosed by Defendants (“Defense
Witnesses”) and permitting Plaintiffs to renew their request for further discovery “on a showing
of good cause following the Witnesses’ depositions,” ECF 614, and pursuant to the Court’s
August 25, 2023 Order directing Plaintiffs to submit an update today on the status of their follow-
up discovery requests, ECF 629.

        As the Court is aware, we have been conferring with counsel for the four Defense
Witnesses, who is also counsel for ACN Opportunity, LLC (“ACN”), about follow-up requests for
the production of documents bearing on the Defense Witnesses’ claims of “success” with ACN.
See ECF 628. Defendants argued that those claims indicated that the Defense Witnesses had made
a profit with ACN, see generally ECF 592 at 10, 22, 28, and so we sought basic information
sufficient to show the Defense Witnesses’ earnings, expenses, and net profits during the relevant
period. During their depositions, each of the Defense Witnesses testified that they could not testify
to such information, and their counsel has now confirmed that they do not have readily accessible
documents that would include such information either. As for ACN, the company has confirmed
via declaration that it has what are called VIP Portal records for each of the Defense Witnesses but
it has thus far refused to produce those records, preferring instead to review them itself and to
provide what appears to be a made-for-litigation document including only the Defense Witnesses’
earnings, but no information about expenses or net profits, nor any other context included in the
records themselves. We have requested that ACN simply produce the records, as they did when
Defendants asked for such records concerning the Plaintiffs. We also have raised some questions
concerning ACN’s document retention, in light of the apparent unavailability of certain other
records notwithstanding the service of a preservation subpoena.

        At this point, we believe a dispute on these issues may be inevitable, but given that ACN
produced its declaration on Tuesday, and that we sent our response just earlier today, we
respectfully request a few additional days to meet and confer, and propose to file any request for
relief with the Court by next Friday, September 15, 2023.
      Case 1:18-cv-09936-LGS-SLC Document 630 Filed 09/08/23 Page 2 of 2
                                                                            2

                                                  Respectfully submitted,


                                                  John C. Quinn

cc:    Counsel of Record (via ECF)
